Case 3:14-cv-03194-M Document 115 Filed 05/22/18           Page 1 of 54 PageID 1437


                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

JILLIAN IZZIO and HEATHER ZOELLER, on
behalf of themselves and all others similarly              Case No. 14-cv-03194-M
situated,
                              Plaintiffs,
                                                             Consolidated with
           v.                                               No. 3:15-CV-0861-M

CENTURY PARTNERS GOLF MANAGEMENT,
L.P.,

                                   Defendant.



    APPENDIX TO OBJECTORS’ MEMORANDUM OF LAW IN OPPOSITION
     TO MOTION FOR CERTIFICATION OF THE SETTLEMENT CLASSES,
      APPROVAL OF THE ENHANCED SETTLEMENT, AND AWARD OF
                  ATTORNEYS’ FEES AND EXPENSES



Document                                                             Page Number

Affirmation of Sarah E. Cressman                                            1

Exhibit A: Harbor Links Banquet Event Documents                             4

Exhibit B: Excerpts of Transcript of March 16, 2016 Final Approval         11
Hearing

Exhibit C: Unpublished Decisions                                           18
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18                  Page 2 of 54 PageID 1438


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 JILLIAN IZZIO         HEATHER ZOELLER,
             IZZIO and HEATHER  ZOELLER, on                        AFFIRMATION OF
 behalf of themselves and all others similarly                    SARAH E. CRESSMAN
 situated
 sitiite,11,
                                Plaintiffs,
                                Plaintiffs,
                                                                  Case No. 14-cv-03194-M
             v.
                                                                                  with
                                                                     Consolidated with
 CENTURY PARTNERS GOLF MANAGEMENT,                                  No. 3:15-CV-0861-M
 L.P.,

                                      Defendant.
                                      Defendant.



Sarah E.
Sarah E. Cressman,
         Cressman,being
                   beingduly
                         dulysworn,
                              sworn,deposes
                                     deposesand
                                             andsays:
                                                  says:

       1.
       1.      I am an
                    an associate
                       associateininthe
                                     thelaw
                                         lawfirm
                                              firmofofThomas
                                                       Thomas&&Solomon
                                                                SolomonLLP ("TS"). Thislaw
                                                                           ("TS"). This lawfirm
                                                                                            firm

represents Objectors
represents Objectors Anthony
                     AnthonyMetzger
                             Metzgerand
                                     andJillian
                                         JillianBrana.
                                                 Brana.  I am
                                                       I am   fully
                                                            fully   familiar
                                                                  familiar   with
                                                                           with thethe facts
                                                                                    facts andand

circumstances  surroundingthis
circumstances surrounding   thismatter
                                 matterand
                                         and
                                           setset forth
                                               forth    herein.
                                                     herein.

       2.           affirmationisissubmitted
               This affirmation     submittedin
                                              inopposition
                                                 oppositiontotothe
                                                                theMotion
                                                                    Motionfor
                                                                            forCertification
                                                                                Certificationofof
                                                                                                thethe

Settlement Classes,
Settlement Classes, Approval
                    Approvalof
                             of the
                                 theEnhanced
                                    EnhancedSettlement,
                                             Settlement,and
                                                         andAward
                                                             AwardofofAttorneys'
                                                                       Attorneys'Fees
                                                                                  Fees  and
                                                                                      and

Expenses.
Expenses.

       3.                                                                   Palmer Golf
               Metzger v. Century Golf Partners Management, LP d/b/a Arnold Palmer

                        14-cv-3747 (E.D.N.Y.)
Management, et al., No. 14-cv-3747 (E.D.N.Y.) (Metzger
                                              (Metzger Action) was filed on June
                                                                            June 13,
                                                                                 13, 2014
                                                                                     2014as
                                                                                          asaa

class and collective
class and collectiveaction
                     actionininthe
                                theEastern
                                    EasternDistrict
                                            DistrictofofNew
                                                         NewYork
                                                             Yorkononbehalf
                                                                      behalfofof named
                                                                               named   plaintiff
                                                                                     plaintiff

        Metzger and
Anthony Metzger and similarly
                     similarlysituated
                               situatedbanquet
                                        banquetservice
                                                serviceworkers
                                                        workerswho
                                                                whoworked
                                                                    workedatatHarbor
                                                                               Harbor  Links
                                                                                     Links

     Course in
Golf Course  in Port
                PortWashington,
                     Washington,New
                                 NewYork.
                                     York.

       4.                             actively litigated
               The Metzger Action was actively litigated from
                                                         from the
                                                              the time
                                                                   time itit was
                                                                             was commenced
                                                                                 commenceduntil
                                                                                           untilitit

was stayed in
           in April
              April 2015
                    2015upon
                         upondefendants'
                              defendants'request.
                                          request.



                                                 11

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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18                                  Page 3 of 54 PageID 1439


        5.      During the ten months the Metzger Action was pending, there were several court

appearances, and the parties were engaged in discovery.

        6.      Defendants produced over 30,000 documents in the Metzger Action, including

bnnonet event documents snch as cAntncts menns event detail sheets                              ni,1 invnices   qeveral

banquet event documents produced by defendants in the Metzger Action are attached hereto as

Exhibit A.

        7.      Plaintiffs' motion to compel class discovery was pending when the action was later

stayed. In addition, defendants deposed both Objectors, and the parties were in the process of

scheduling the remaining depositions when the case was stayed.

        8.      In accordance with local rules requiring a court conference before permitting

motions to be filed, plaintiffs requested a pre-motion conference in February 2015 in advance of

their motion for class certification. The Court ordered defendants to provide in writing their basis

for opposing class certification no later than one week after the plaintiff depositions were

completed, in anticipation of holding that conference to clear the way for a fully briefed motion

for class certification.
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before Judge Solis on March 16, 2016 is attached hereto as Exhibit B.

        10.     Attached hereto as Exhibit C are the following unpublished decisions: Kehn
                                                                                      Kehn v.v.

Plainview  Hospitality,
Plainview Hospitality,   LLC,
                       LLC, Decision and Order dated April 8, 2014, Index No. 9866/12 (N.Y.

Sup. Ct. Nassau County) (Parga, J.); Plante
                                     Plante v.v.South
                                                 South   Bristol
                                                      Bristol    Resorts
                                                              Resorts      LLC,
                                                                      LLC, Decision dated January

22, 2015, Index No. 111071 (N.Y. Sup. Ct. Ontario County) (Rosenbaum, J.); Fischer
                                                                           Fischer v.v.Michael's
                                                                                        Michael's

Banquet  Facility,
Banquet Facility,    Inc.,
                  Inc., Transcript of Decision dated February 9, 2015, Index No. 8811728/2014

(N.Y. Sup. Ct. Erie County) (Walker, J.) (unpublished).



                                                             2

                                                                                                                      2
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18      Page 4 of 54 PageID 1440


Executed this 22nd day of May, 2018.

                                           s/Sarah E. Cressman
                                           Sarah E. Cressman




                                       3

                                                                              3
Case 3:14-cv-03194-M Document 115 Filed 05/22/18   Page 5 of 54 PageID 1441




                       Exhibit A
                Case 3:14-cv-03194-M Document 115 Filed 05/22/18                 Page 6 of 54 PageID 1442




                            HARBOR LINKS
                            HARBOR LINKS GOLF
                                         GOLF                                        InvoiceNo.
                                                                                     Invoice No.
                            COURSE
                            1 Fairway Drive
                            Port Washington, New York 11050
                            516-767-4816 fax 516-767-4812
                                                                                              INVOICE
         (---    Customer
                 Customer
            Name     REDACTED                                                                      9/20/2014
            Address                                                               Order No.
            City                                 StateREDACTED Zip                Rep
            Phone
                                                                            —/
                 Qty
                 Qty                             Description
                                                 Description                        Unit Price
                                                                                    Unit Price          TOTAL
                                                                                                        TOTAL
                 229   Wedding Gala                                                      $95.00          $21,755.00
                 229   Shellfish Barge                                                   $13.95           $3,194.55
                  2    Cases of Ginger Beer                                              $30.00              $60.00
                  4    Bottles of Patron                                                 $58.00            $232.00
                  3    Child                                                             $47.50            $142.50
                 11    Vendors                                                           $47.50            $522.50



                          * checks must be payable to Harbor Links Golf Course
                                       All final payments must be done by
                                       certified check or cash only




                                                                                      SubTotal          $25,906.55
               (-- Payment
                    Payment Details
                            Details                                         Service Charge 20%           $5,181.31
                   0    Cash                                                      Taxes 8.625%           $2,681.33
                   (DP
                   COP  Check                                                        TOTAL              $33,769.19
                   0    Credit Card                                                Less Deposit
                                                                                   Less Deposit          $2,500.00
                 Name                                                              TOTAL DUE
                                                                                   TOTAL DUE            $31,269.19
                  CC #
                                Expires




                       Thank you for choosing Harbor Links.




                                                                                                               5
Confidential                                                                                                       D030152
                                              Lunch
               Case 3:14-cv-03194-M Document 115    Menu
                                                 Filed 05/22/18                 Page 7 of 54 PageID 1443



                                                American Deli Luncheon

                                   A selection of assorted Deli Meats and Cheeses to include:
                        Breast of Turkey, Roast Beef, Baked Ham, Swiss, Cheddar and American Cheese
                                                   Old Fashioned Potato Salad
                                                           Pasta Salad
                                                            Cole Slaw
                                            Garden Salad with a variety of dressings
                              Relish Tray to include: Lettuce, Tomatoes, Pickles and Black Olives
                                                    Assorted Breads and Rolls
                                                 Chefs Choice of Mini Desserts
                                     Coffee, Tea, Decaffeinated Coffee and Assorted Sodas
                                $27.00 per person +20% Service Charge and 8.625% Tax


                                               The New York Deli Lunch

                                   An elegant platter of New York Deli Delicacies including:
                                     Turkey, Corned Beef, Pastrami, Roast Beef, Brisket
                                                    Potato Salad, Cole Slaw
                                                        Hot Mini Knishes
                                                          Relish platter
                                                           Rye Bread
                                                 Mustard and Russian Dressing
                          Tantalizing Miniature Pastries, Petit Fours, Mini Danish, Rugalach Cookies
                                             Root Beer, Cream and Cherry Sodas
                                              Coffee, Tea, Decaffeinated Coffee
                              $30.00 per person + 20% Service Charge and 8.625% Tax




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Confidential
                                                                                                           D030904
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               Case 3:14-cv-03194-M Document 115 Filed 05/22/18


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                                                                               Page 8 of 54 PageID 1444




                                                   Breakfast Menu

                                                      Continental
                                                 Assorted Chilled Juices
                                   Bagels with Cream Cheese, Butter and Fruit Preserves
                                         Assorted Muffins, Danish and Croissants
                                                    Sliced Fresh Fruit
                                                 Assorted Cold Cereals
                                          Coffee, Tea and Decaffeinated Coffee
                             $14.95 per person plus 20% Service Charge and 8.625% Tax

                                                           OR

                                                  American Breakfast

                                                    Fresh Scrambled Eggs
                                   Thick Challah Bread French Toast or Belgian Waffles
                                     Country Sausage and Applewood Smoked Bacon
                                              Red Skin Home Styled Potatoes
                                                  Display of Seasonal Fruits
                                            Freshly Baked Muffins and Croissants
                Assorted Gourmet Bagels served with Whipped Butter, Cream Cheese and Select Fruit Preserves
                               Served with Freshly Brewed CoiTee
                                                             Coffee and Decaffeinated Coffee
                                                         Herbal Teas
                                               Bottled Mineral Mineral Water
                                                  Assorted Chilled Juices

                             $17.95 per person plus 20% Service Charge and 8.625% Tax




                                                                                                              7
Confidential                                                                                                      D030905
               Case 3:14-cv-03194-M Document 115 Filed 05/22/18              Page 9 of 54 PageID 1445
                                               Afternoon Energy Break

                                     Assorted Granola Bars and Chocolate Power Bars
                                                  Fresh Fruit Smoothies
                                                  Seasonal Whole Fruit
                                          Coffee, Tea and Decaffeinated Coffee
                                         Assorted Soft Drinks and Power Drinks

                             $12.95 per person + 20% Service Charge and 8.625% Tax


                                              The Harbor Sports Break

                             Miniature Piggies in a Blanket, served with Stone Ground Mustard
                                            Bags of Popcorn and Assorted Chips
                                           Coffee, Tea and Decaffeinated Coffee
                                          Assorted Soft Drinks and Power Drinks

                             $12.95 per person + 20% Service Charge and 8.625% Tax

                                             Cookies & Brownies Break

                                Fresh Baked Chocolate Chip Cookies and Fudge Brownies
                                                Assorted Granola Bars
                                                  Fresh Whole Fruit
                                         Coffee, Tea and Decaffeinated Coffee
                                          Iced Tea, Lemonade, Bottled Water
                            $12.95 per person plus 20% Service Charge and 8.625% Tax




                                                                                                    8
Confidential                                                                                            D030906
                Case 3:14-cv-03194-M Document 115 Filed 05/22/18             Page 10 of 54 PageID 1446




                                1 Fairway Dr. Pt. Washington, NY. 11050 516.767.4816


Client Name: REDACTED                                                       Event Number: REDACTED
Client Address:

:lient Contact:                                                             Event Name: REDACTED
                                                                                         REDACTED
7Vork Phone:
 ell Phone:

;vent Date        10/30/2014                                                Guests:            0

                                                  EVENT DETAILS
 acidity:                 North Banquet Room                 Function Date:                        10/30/2014
 ime From:                09:OOAM                            Time To:                              04:OOPM

                                                        Pricing
Item Number           Item Name                         Quantity    Price    Subtotal    Gratuity    Tax         Total
1201000000145         Continential Breakfast               100      15.00    1500.00      0.00      129.38      1629.38
1201000000145         20% Service                         100        3.00     300.00      0.00       25.88       325.88
1201000000145         Lunch                               100       25.00    2500.00      0.00      215.63      2715.63
1201000000145         20% Service                          100       5.00     500.00      0.00       43.13       543.13

Golf Services:


Food Service:
Thursday October 30, 2014 9:OOam-4:00pm REDACTED
Host REDACTED

Ballroom




 0- 50 Guests

 ontinental Breakfast-
Bagels with Cream Cheese, Butter and Fruit Preserve, Assorted Muffins, Danish and Croissants
Sliced Seasonal Fruit Display
• ssorted Cold Cereals
 offee/ Tea/ Decaf

• merican Deli Luncheon-
 urkey, Roast Beef, Baked Ham, Swiss, Cheddar and American Cheese
Potato Salad
 asta Salad
 ole Slaw
  arden Salad with Variet of Dressings
 elish Tray- Lettuce, Tomatoes, Pickles and Black Olives
                                                                                                             9
 Confidential                                                                                                     D030902
Assorted Breads
           Caseand Rolls
                 3:14-cv-03194-M Document 115 Filed 05/22/18   Page 11 of 54 PageID 1447
Homemade Cookies and Brownies

Beverages- Soft Drinks
Coffee/ Tea/ Decaf


Guest X


HarborLinks X                       v




Beverage Service:


AudioNisual Services:


                         REDACTED




                                                                                      10
Confidential                                                                               D030903
Case 3:14-cv-03194-M Document 115 Filed 05/22/18   Page 12 of 54 PageID 1448




                        Exhibit B
     Case
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          3:14-cv-03194-M
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                              Linda J.J.Langford,
                                         Langford,CSR,
                                                    CSR,RDR,
                                                         RDR,CRR
                                                              CRR

                                                                                       Page
                                                                                       Page 1I
 1                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
 2                            DALLAS DIVISION
 3    JILLIAN IZZIO, et al.,
                         al          )        CIVIL ACTION NO.
                       Plaintiffs )           3:14-CV-3194-P
 4                                   )
      VS.
      VS.                            )        DALLAS, TEXAS
 5                                   )
      CENTURY GOLF PARTNERS          )
 6    MANAGEMENT, L.P.,              )
                        Defendant    )        MARCH 16, 2016
 7
 0
 8
 0
                            TRANSCRIPT OF PROCEEDINGS
 9                  BEFORE THE HONORABLE JUDGE JORGE A. SOLIS
                          UNITED STATES DISTRICT JUDGE
10
11
12    APPEARANCES:
13    For the Plaintiffs:                               CONNELLI
                                               MR. ADAM GONNELLI
                                               MR. KENNETH STILLMAN
14                                             Faruqi & Faruqi, LLP
                                               685 Third Avenue
15                                             New York, New York 10017
                                               (212) 983-9330
16
17    For tht
          the, DefenrIant:
               Defendant:                      MS. SHERRY
                                               MS. SHFRRY L.
                                                           L. TRAVERS
                                                               TRWFRS
                                               MR. RUSSELL R. ZIMMERER
18                                             Littler Mendelson, P.C.
                                               2001 Ross Avenue, Suite 1500
19                                             Dallas, Texas 75201-2931
                                               (214) 880-8100
20
21    For the Harbor Links                     MR. J. NELSON THOMAS
      Objectors:                               MS. SARAH CRESSMAN
22                                             Thomas & Solomon, LLP
                                               693 East Avenue
23                                             Rochester, New York 14607
                                               (585) 272-0540
24
25

                                      U.S. District
                                      U.S.           Court
                                           District Court
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                                                                      PageID 791
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                              Linda J. Langford, CSR, RDR, CRR


                                                                                      Page 2
 1    APPEARANCES CONTINUED:
 2    Court Reporter:                     Linda J. Langford, CSR, RDR, CRR
                                          U.S. District Court Reporter
 3                                        Chambers of Judge David C. Godbey
                                          1100 Commerce Street, Rm. 1504
 4                                        Dallas, Texas 75242
                                          (214) 748-8068
 5
 6    Proceedings reported by mechanical stenography, transcript
 7    produced by computer.
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                                     U.S. District Court
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                                         Filed05/22/18  Page 24
                                               05/09/16 Page 15 of
                                                                of 54 PageID 813
                                                                   53 PagelD 1451
                              Linda J. Langford, CSR, RDR, CRR


                                                                                     Page 24
 1                MR. THOMAS: Ms. Gulla.

 2                THE COURT: Ms. Gulla, can you come around to the

 3    witness stand up here, please, ma'am? Raise your right hand

 4    and be sworn, please, ma'am.

 5          (The witness was sworn by the deputy district clerk.)

 6                THE COURT: Counsel?

 7                MR. THOMAS: Yes.

 8                              DIANE GULLA, SWORN,

 9                              DIRECT EXAMINATION

10    By Mr. Thomas:

11    Q.    Hi, Ms. Gulla. Thank you for talking here today.

12    A.    Thank you.

13    Q.    I will try to keep this -- I expect this will be very

14    short and -- and fairly easy.

15          What location did you work for as a banquet server?

16    A.    The Fox Valley Country Club.

17    Q.    And where is that located?

18    A.    Lancaster, New York.

19    Q.    And have you ever -- have you ever been to the Harbor

20    Links facility?

21    A.    No.

22    Q.    Okay. Have you ever -- and you've never worked there

23    either.

24    A.    No.

25    Q.    Are you familiar with how they pay their employees?



                                     U.S. District Court
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     Case
      Case3:14-cv-03194-M Document
            3:14-cv-03194-M        115
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                                        Filed05/22/18  Page 25
                                              05/09/16 Page 16 of
                                                               of 54 PageID 814
                                                                  53 PagelD 1452
                              Linda J. Langford, CSR, RDR, CRR


                                                                                    Page 25
 1    A.    No.

 2    Q.    Have you -- do you have any connection whatsoever with

 3    the Harbor Links' location?

 4    A.    No.

 5    Q.    About how far away is it from you? I'll represent to

 6    you that it's on Long Island.

 7    A.    Hundreds of miles.

 8    Q.    Do you have any objection to the Harbor Links employees

 9    settling and pursuing their own case separately from you?

10    A.    Yes.

11                 MR. GONNELLI: Your Honor, I -- well, go ahead.

12                 THE WITNESS: I don't know how to answer that

13    question.

14    Q.    (BY MR. THOMAS) Okay. Thank you.

15                 MR. THOMAS: I have nothing further.

16                 THE COURT: All right. You may step down. Thank

17    you, Ms. Gulla.

18          Anybody else?

19                 MR. GONNELLI: Your Honor, if you want, we can

20    save some time and represent that these folks worked at

21    Brierwood and Fox Valley and not Harbor Links and they all

22    worked far away from Harbor Links.

23                 MR. THOMAS: And know no Harbor Links employees,

24    no knowledge of the policies there. Are they going to

25    stipulate to that?


                                     U.S. District Court
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            3:14-cv-03194-MDocument
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                                         Filed05/22/18  Page 26
                                               05/09/16 Page 17 of
                                                                of 54 PageID 815
                                                                   53 PagelD 1453
                              Linda J. Langford, CSR, RDR, CRR


                                                                                     Page 26
 1                 MS. OWCZARZAK: My answers would be the same as

 2    hers.

 3                 MR. THOMAS: Okay.

 4                 MS. IZZIO: Be the same.

 5                 THE COURT: Same? All right.

 6                 MR. THOMAS: Okay.

 7                 THE COURT: Thank you.

 8                 MR. THOMAS: Anything else for me, Your Honor?

 9                 THE COURT: No. That's it. Thank you.

10            Mr. Gonnelli, I'll hear from you then on his arguments

11    on the objections.

12                 MR. GONNELLI: Thank you, Your Honor.

13            Your Honor, first of all, there's a lot of factual

14    inaccuracies here. The Harbor Links folks were included

15    in the action that was pleaded in the Law and Gulla case

16    in upstate New York. So they were included from the very
17    beginning.

18          Second, we had been litigating for ten months before

19    the Harbor Links case was even filed. And there was a

20    couple months before we had the mediation. So we were

21    there underway.

22            Mr. Thomas makes it sound like, well, they had this

23    other litigation and it was going on great. Well, yeah,

24    it was ten months after we had already been litigating.

25            In terms of the -- and I have to say, I do not


                                     U.S. District Court
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     Case
      Case3:14-cv-03194-M
            3:14-cv-03194-MDocument
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                                         Filed05/22/18  Page 53
                                               05/09/16 Page 18 of
                                                                of 54 PageID 842
                                                                   53 PagelD 1454
                              Linda J. Langford, CSR, RDR, CRR


                                                                                            Page 53
 1
 2                                      CERTIFICATION
 3
 4           I certify that the foregoing is a true and correct
 5    transcript from the record of proceedings in the above-
 6    entitled matter. I further certify that the transcript
 7    fees format comply with those prescribed by the Court
 8    and the Judicial Conference of the United States.
 9
10           s/Linda J. Langford                                 Date:   May 2, 2016
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                                     U.S. District Court
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Case 3:14-cv-03194-M Document 115 Filed 05/22/18   Page 19 of 54 PageID 1455




                     Exhibit C
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18                     Page 20 of 54 PageID 1456



 SHORT FORM ORDER
          SUPREME COURT-NEW YORK STATE-NASSAU COUNTY
     PRESENT:
                 HON. ANTHONY L. PARGA
                                   JUSTICE

                                                            X   PART 6
RICHARD KEHN, on behalf of himself and others
similarly situated,                                                      INDEX NO.9866/12

                                         Plaintiff,                      MOTION DATE: 02/25/14
        -and-                                                            SEQUENCE NO. 001

PLAINVIEW HOSPITALITY, I,I,C d/b/a HOLIDAY
INN PLAINVIEW, PLAINVIF,W HOSPITALITY II,
LLC d/b/a HOLIDAY INN PLAINVIEW, VIRAL
PATEL and/or NILESH P. PATEL,

                                        Defendants.
                                                            X
Notice of Motion
Affirmation of Jeffrey K. Brown & Exs
Memorandum of Law in Support                                                            3
Affirmation in Opposition & Exs                                                         4
Affirmation in Further Support                                                          55


       Upon the foregoing papers, it is ordered that the motion by the plaintiffs for an order,
pursuani to CPLR
pursuant to Cp.la 901
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                      and 907,
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Brown Law, P.C. and Virginia & Ainbinder,
                               Ambinder, LLP, as class counsel, (3) requiring defendants to
turn over a full and complete list of all Class Members with names and last known addresses
within 15 days, and (4) approving the Proposed Notice of Pendency and authorizing publication
to all Class Members within 30 days of defendants providing the Class List, is granted to the
extent directed below.
       Plaintiff contends that this action is brought on behalf of Richard Kehn and a putative
class of individuals who worked in service trades that customarily receive gratuities, including
waiters, servers, head waiters, bussers, bartenders, captains matre d's, and bridal attendants
("service employees") at the banquet facilities known as the Holiday Inn Plainview, which is


                                              Page 1 of 7



                                                                                                      19
Case 3:14-cv-03194-M Document 115 Filed 05/22/18                    Page 21 of 54 PageID 1457



operated and managed by defendants. Plaintiffs allege that Holiday Inn Plainview violated New
York Labor Law Article 6 §196-d, because reasonable customers who hosted events there
believed that the service charges that they paid and the maitre d' tips that they disbursed were
gratuities that would be paid to service employees who worked the events, but said charges were
instead kept in whole or part by defendants.
        Plaintiffs allege that defendants failed to distribute service charges and maitre d' tips to
                                          defendants' catering
service employees who worked at events at defendants' catering facility.
                                                               facility. Section
                                                                         Section 196-d
                                                                                 196-d of the
Labor Law provides that:
               "No employer or his agent or an officer or agent of any
       corporation, or any other person shall demand or accept, directly or indirectly,
       any part of the gratuities, received by an employee, or retain
       any part of a gratuity or of any charge purported to be a gratuity for an
       employee. This provision shall not apply to the checking of hats, coats or
       other apparel. Nothing in this subdivision shall be construed as affecting
       the allowances from the minimum wage for gratuities in the amount determined
       in accordance with the provisions of article nineteen of this
       chapter nor as affecting practices in connection with banquets and other
       special functions where a fixed percentage of the patron's bill is added
       for gratuities which are distributed to employees, nor to the sharing of
       tips by a waiter with a busboy or similar employee."

       Section 196-d of the Labor Law has been held to apply to mandatory service charges
when it is shown that employers represented or allowed their customers to believe that the
service charges were gratuities for their employees and an employer may not retain such service
charges (Samiento v World Yacht Inc., 10 NY3d 70, 81 [2008]).
       The named plaintiffs seek an order allowing this action to proceed as a class action for the
following class:
               "All individuals employed by Holiday Inn Plainview from August 2006
       to the present in such trades, classifications and professions that customarily
       receive gratuities including but not limited to waiters, servers, head waiters, bussers,
       bartenders, captains, maitre d's, and bridal attendants. The putative class
       does not include maintenance workers, corporate officers, salespersons,
       cooks, food preparers, chefs, dishwashers, directors, clerical, office
       workers or any other person employed by Holiday Inn Plainview whose trade,
       classification or profession does not customarily receive gratuities."



                                            Page 2 of 7



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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18                     Page 22 of 54 PageID 1458



        In support of the motion, plaintiff submits the affidavits of named plaintiff, Richard
 Kehn, and former Holiday Inn Plainview employee, Ronald Vogel. Mr. Kehn attests that he was
employed by defendants in various capacities, including as a bartender, server/waiter, and maitre
d' in 2010 and 2011 for a total of approximately 15 months. Mr. Vogel attests that he was
employed by defendants in various capacities, including as a banquet manager and catering sales
manager from 2009 until 2011. Both Mr. Kehn and Mr. Vogel attest that during their tenures,
Holiday Inn Plainview assessed a mandatory 20% service charge for all catering events and that
none of the language in the contracts, bills, invoices or menus explained that the service charge
was not a gratuity. They also attest that from their conversations with customers and employees
that the customers believed said charge was a gratuity that went to service employees and that
Holiday Inn Plainview kept some, if not all, of the service charge and same was not distributed in
its entirety to the service employees that worked a particular event. Both men attest that they
received only an hourly pay rate and were not provided all of the service charge.
        Defendants oppose the instant application, contending that defendants did not own or
operate the hotel before July 2009, and, as such, was not the "employer" of the plaintiff or any
individuals similarly situated,
                      situated. Defendants argue that pursuant to an Agreement of Sale, effective
July 13, 2009, Plainview Hospitality purchased the assets of the hotel from Plainview
Enterprises, and that the Agreement provides that Plainview enterprises "shall terminate (i) all
housekeeping personnel as of 3:00 pm on the Closing Date and all other hotel personnel as of
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                   fly hefnre              sneh defendnnts
                                                defendnnts c^ritend
                                                           c^ntend that all of Plainview
Enterprise's employees were terminated before Plainview Hospitality owned and operated the
hotel. Defendants contend that neither Richard Kehn and Ronald Vogel, the two individuals who
submitted supporting affidavits, were employed by any of the defendants prior to 2009,
                                                                                 2009. As such,
while defendants do not specifically oppose the certification of the class, defendants argue that in
light of the evidence demonstrating the lack of any involvement of the defendants with the
subject hotel or the employment of the plaintiff prior to July 2009, the plaintiff should not be
permitted to assert these pre-July 2009 claims against these defendants.
       In Reply, plaintiff states that in the event that the Court grants certification, plaintiff
agrees to amend the class definition to reflect the time period in which defendants owned and


                                             Page 3 of 7


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Case 3:14-cv-03194-M Document 115 Filed 05/22/18                     Page 23 of 54 PageID 1459



operated the hotel, and agree that the proposed definition of the class, as amended, is:
          "All individuals employed by Holiday Inn Plainview from July 13, 2009
          to the present in such trades, classifications and professions that customarily
          receive gratuities including but not limited to waiters, servers, head waiters, bussers,
          bartenders, captains, maitre d's, and bridal attendants. The putative class
          does not include maintenance workers, corporate officers, salespersons,
          cooks, food preparers, chefs, dishwashers, directors, clerical, office
          workers or any other person employed by Holiday Inn Plainview whose trade,
          classification or profession does not customarily receive gratuities."

          CPLR 901(a) provides that:
                  "One or more members of a class may sue or be sued as
          representative parties on behalf of all if:
          1.the class is so numerous that joinder of all members, whether otherwise
          required or permitted, is impracticable;
          2. there are questions of law or fact common to the class which predominate
          over any questions affecting only individual members;
          3. the claims or defenses of the representative parties are typical of the
          claims or defenses of the class;
          4. the representative parties will fairly and adequately protect the interests
          of the class; and
          5. a class action is superior to other available methods for the fair and
          efficient ajudication of the controversy."

          Once the prerequisites under CPLR 901 have been satisfied, CPLR 902 requires the court
to consider the following matters in determining whether the action may proceed as a class
action:


          "1. The interest of members of the class in individually controlling the
          prosecution or defense of separate actions;
          2. The impracticability or inefficiency of prosecuting or defending
          separate actions;
          3. The extent and nature of any litigation concerning the controversy
          already commenced by or against members of the class;
          4. The desirability or undesirability of concentrating the litigation of
          the claim in the particular forum;
          5. The difficulties likely to be encountered in the management of a
          class action."

          CPLR article 9 is to be liberally construed and the determination as to whether to grant



                                             Page 4 of 7


                                                                                                     22
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18                    Page 24 of 54 PageID 1460



 class certification rests in the discretion of the trial court (Beller v William Penn Lie Ins. Co. of
 N.Y.,, 37 AD3d 747, 748 [2d Dept 2007]). "In
 NY                                       "in order to certify a lawsuit as a class action, the court
 must be satisfied that questions of law or fact common to the class predominate over any
 question affecting only individual members, and that a class action is superior to other available
 methods for the fair and efficient adjudication of the controversy" (Osarczuk v. Associated
Universities, Inc., 82 AD3d 853 [2d Dept. 2011], quoting, Aprea v. Hazeltine Corp., 247 AD2d
 564 [2d Dept 1998]; Friar v. Vanguard Hoding Corp., 78 AD2d 83 [2d Dept 1980]). The
plaintiff has the burden of establishing the statutory prerequisites for certification (Emilio v
Robison Oil Corp., 63 AD3d 667 [2d Dept 2009]), but "the policy of this rule is to favor the
                                                   106 AD2d
maintenance of class actions" (Brandon v. Chefetz, 106 AD2d 162
                                                            162 [1St
                                                                [1st Dept 1985]). Further,
"'any error, if there is to be one, should be...in favor of allowing the class action" (Pruitt v.
Rockefeller Center Properties, Inc., 167 AD2d 14 (1' Dept. I1991)(quoting,
                                                             991)(quoting, Esplin v. Hirschi,
402 F.2d 94, cert. denied 394 U.S. 928), and "where the case is doubtful, the benefit of any doubt
should be given to allowing the class action" (Krebs v. Canyon Club, Inc., 22 Misc.3d 1125(A),
880 N.Y.S.2d 873 [Sup. Ct. Westchester Cty. 2009]).
       The Court has reviewed the submissions of all of the parties hereto. Plaintiff has met the
specific requirements of numerosity, commonality, typicality and adequacy set forth in CPLR
901(a). The affidavits submitted by plaintiffs in support of their motion for class certification
indicate that during their tenures, Mr. Kehn worked with 25 service employees and that Mr.
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                                                                            number of prospective
class members which must exist to satisfy the numerosity requirement of CPLR 901(a)(1),
however, a class of 40 or more has been found to raise a presumption of numerosity (Weinstein v
Jenny Craig Operations, Inc., 41 Misc3d 1220[A] [Sup Ct, New York County 2013]).
       Plaintiff has also satisfied the commonality requirement of CPLR 901(a)(2), which
requires predominance of common questions of law or fact, not identity or unanimity among
class members (City of New York v Maul, 14 NY3d 499, 514 [2010]; Friar v Vanguard Holding
Corp., 78 AD2d 83, 98 [2d Dept 1980]). The affidavits submitted by plaintiff in support of the
motion indicate that there was a common policy regarding the mandatory service charge at the
Holiday Inn Plainview and that service employees were paid a flat hourly fee and were not paid


                                             Page 5 of 7


                                                                                                    23
Case 3:14-cv-03194-M Document 115 Filed 05/22/18                    Page 25 of 54 PageID 1461



all of the service charges collected.
       Similarly, plaintiffs have also fulfilled the typicality requirement of CPLR 901(a)(3)
because the individual plaintiff's claims derive from the same practices and course of conduct
that give rise to the claims of the other members of the putative class and are based on the same
legal theory. Here, Mr. Kehn seeks the same relief as the class members - to receive the
gratuities allegedly collected by defendants and owed
                                                 owed to
                                                      to him.
                                                         him. Further,
                                                              Further, the
                                                                        the named
                                                                            named plaintiff's
                                                                                  plaintiffs
claims need not be identical to those of the class (Krebs v Canyon Club, Inc., 22 Misc3d
                                                                                  Misc3d 11125(A)
                                                                                           125(A)
[Sup Ct, Westchester County 2009]). Mr. Kehn has also attested that he wishes to represent
other Holiday Inn Plainview service employees to help them recover unpaid tips and gratuities.
       Plaintiff has also established his ability to fairly and adequately represent the interests of
the proposed class as required by CPLR 901(a)(4).
       Finally, plaintiff has satisfied the superiority requirement of CPLR 901(a)(5) by
demonstrating that a class action will be the most efficient method for handling the claims of the
similarly situated putative class members.
       In meeting the prerequisites of CPLR 901(a), plaintiff has also satisfied the factors set
forth in CPLR 902 and defendants have failed to offer any persuasive argument to the contrary.
       Accordingly, it is, ORDERED that:
       (1) the plaintiffs motion for class certification, as amended in its Reply to include
       qualified individuals employed from July 13, 2009 to present, is GRANTED;
       (2) Leeds Brown
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       counsel;
       (3) defendants shall provide to plaintiff a full and complete list of all Class Members,
       with names and last known addresses, within 15 days of the date of this Order;
       (4) plaintiff shall amend the class definition, as noted in its Reply, to include qualified
       individuals employed from July 13, 2009 to present, only, and shall amend its Proposed
      Notice of Pendency (Plaintiff
                         (Plaintiffss Exhibit
                                      Exhibit "I")
                                               "I")in
                                                    inaccordance
                                                       accordance with
                                                                  with same
                                                                       same prior
                                                                            prior to publication;
      and
      (4) the Proposed Notice of Pendency (Plaintiff
                                          (Plaintiff'ss Exhibit "I") is hereby approved upon
      amendment to the class definition as noted in plaintiffs Reply to include qualified


                                             Page 6 of 7


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Case 3:14-cv-03194-M Document 115 Filed 05/22/18                 Page 26 of 54 PageID 1462



       individuals employed from July 13, 2009 to present, only, and plaintiff's publication is
       authorized to all Class Members within 30 days of defendants providing the Class List to
       plaintiff, in accordance with the Publication Order of this Court, dated April 8, 2014.
This constitutes the decision and order of this Court.
Dated: April 8, 2014




Cc:    Leeds Brown Law, P.C.
       One Old Country Road
       Carle Place, NY 11514

       Certilman Balin Adler & Hyman, LLP
       90 Merrick
          Merrick Avenue,
                  Avenue,9th
                           9' Floor
       East Meadow, NY 11554




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                                                                          NASSAU COUNTY
                                                                       COUNTY CLERK'S OFFICE




                                           Page 7 of 7


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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18         Page 27 of 54 PageID 1463


STATE OF NEW YORK
SUPREME COURT     COUNTY OF ONTARIO

ALLISON PLANTE, on behalf of herselfand
all other employees similarly situated,

                               Plaintiffs

    . -VS-
      -vs-                                           Index No. 111071


SOUTH BRISTOL RESORTS LLC,

                               Defendant




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                                  Ca-Int-in!

                                January 22,2015



                                  APPEARANCES


                             CORDELLO LAW PLLC
                            Justin M. Cordell°, Esq.
                            Attorneys for Plaintiffs

                   TREVETT CRISTO SALZER & ANDOLINA P.C.
                           Matthew]. Fusco, Esq.
                          Attorneys for Defendant



                                    DECISION

Rosenbaum, J.

      Plaintiff, Allison Plante, on behalf of herself and all other employees
similarly situated, moves for an order pursuant to CPLR Rule 901-909 (a)

                                        -1-




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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18            Page 28 of 54 PageID 1464


granting class certification of Plaintiff's state law claim, certifying a class of all
banquet staff employees of Defendant who were employed by Defendant during
the period from May 20, 2008 through the present and who were not paid
gratuities to which they were entitled in violation of New York's Labor Law
and/or regulations promulgated thereunder; (b) and if the class is certified,
directing notice of the certification of the class be provided to the class
members by first class mail addressed to their last known addresses in addition
to emailing notice to the class members; (c) directing Defendant to post the
notice at Bristol Harbour at an appropriate location in the kitchen or other non-
public area; and (d) appointing Allison Plante as lead Plaintiff representing the
class and appointing Ms. Plante's counsel as class counsel.
      Plaintiff also submits a second Notice of Motion, seeking an order
pursuant to CPLR 3212 granting summary judgment in Plaintiff's favor on tile
                                                                        the
state law claim seeking recovery of unpaid gratuities pursuant to New York's
Labor law Section 196-d for the relevant time frame of May 2008 through May
2014, and further, for the Court to hold an inquest to determine damages.
      Plaintiff commenced this action on May 20, 2014. Plaintiff seeks to
certify a class action pursuant to Article 9 of the CPLR for alleged violations of
New York Labor Law Section 196-d. It is alleged that Defendant retained
monetary gratuity it collected from customers during private events instead of
distributing these gratuities in their entirety to banquet service employees.
Plaintiff alleges that Defendant's practice of retaining the gratuities affected all
banquet service employees who worked these events, and that the claims for
each banquet service employee are subject to the same legal analysis of
Defendant's practice. Specifically, Plaintiff alleges that each claim will require
analyzing whether Defendant violated the law by retaining these gratuities
instead of distributing them to the banquet service employees.
      Defendant owns and operates Bristol Harbour, a resort located in




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Case 3:14-cv-03194-M Document 115 Filed 05/22/18         Page 29 of 54 PageID 1465



Canandaigua, New York. One of the many services offered by Defendant is
hosting private events.
      Plaintiff was employed by Defendant as a banquet server and/or busser
from May 2011 until August 2012, and again from May 2013 to August 2013
and during those time frames worked at numerous private catered events.
Generally, Plaintiff worked with six other banquet staff at each event. Plaintiff
estimates that there were approximately 40 persons hired as banquet staff by
Defendant during her employment, that Defendant catered events
approximately 5-10 times a week, and that due to high turnover in the banquet
staff, in a given year there were 5-20 different staff employees working for
Defendant.
      According to Plaintiff, it was Defendant's policy to charge customers a
mandatory 20% surcharge on top of their bill. This allegation is based upon
Defendant's Banquet Event Order, the contract signed for an event which
included event pricing information. Defendant's website and sample menus
also refer to a 20% surcharge as gratuity. Plaintiff alleges that Defendant does
not notify banquet customers that the 20% charge is specifically for the
administration of the event or other purposes, other than staff gratuities.
      Plaintiff states that she was never paid any gratuity from the 20%
surcharge charged to the banquet customers. Plaintiff alleges that other
banquet employees also did not receive gratuities. Plaintiff asserts that her
former manager at the resort, Karen Kiehle, informed her than the 20%
surcharge was not for gratuity but was used by Defendant for administrative
costs. She further states that Ms. Kiehle told her that in the past the 20%
surcharge was distributed as a gratuity to the staff, but that the practice
changed prior to Plaintiff's employment. Plaintiff believes that Defendant's
banquet customers believed the 20% surcharge was a gratuity.
      Defendant states that prior to 2011, employees received a percentage of


                                        -3-




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Case 3:14-cv-03194-M Document 115 Filed 05/22/18          Page 30 of 54 PageID 1466


the gratuity/administrative charge, and that this was explained to customers in
each instance. Beginning in 2011, however, Defendant contends the banquet
staff began receiving an increased hourly wage in excess of the New York State
Labor Law server fee and the minimum wage. Moreover, Defendant asserts that
beginning in 2011, it explicitly gave notice to customers advising that any
service fees would not be given to banquet event staff.
      Class Certification
      "The determination of whether a lawsuit qualifies as a class action under
the statutory criteria 'ordinarily rests within the sound discretion of the trial
court." City of New York v. Maul, 14 N.Y.3d 499, 509 (2010), quoting Small v.
Lorillard Tobacco Co., 94 N.Y.2d 43, 52 (1999). See also, Borden v. 400 East
55th Street
     Street Assoc..
            Assoc.. L.P.,
                    L.P., _ N.Y.3d
                            N.Y.3d _,
                                   __,2014
                                       2014WL
                                           WL6607407
                                              6607407(Nov.
                                                      (Nov. 24,
                                                            24, 2014).
                                                                2014).
"Courts have recognized that the criteria set forth in CPLR 901(a) 'should be
broadly construed not only because of the general command for liberal
construction of all CPLR sections (see CPLR 104), but also because it is apparent
that the Legislature intended article 9 to be a liberal substitute for the narrow
class action legislation which preceded it." City of New York v. Maul, 14 N.Y.3d
at 509, quoting Friar v. Vanguard Holding Corp., 78 A.D.2d 83, 91 (2d Dept.
1980).
      There are "five prerequisites that CPLR §901(a) requires to be satisfied
before a class may be certified. . . ." Borden, 2014 WL 6607407. Those
prerequisites are: "1. the class is so numerous that joinder of all members,
whether otherwise required or permitted, is impracticable; 2. there are
questions of law or fact common to the class which predominate over any
questions affecting only individual members; 3. the claims or defenses of the
representative parties are typical of the claims or defenses of the class; 4. the
representative parties will fairly and adequately protect the interests of the
class; and 5. a class action is superior to other available methods for the fair


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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18          Page 31 of 54 PageID 1467


and efficient adjudication of the controversy."
             Numerosity
      It has been held:
             There is no "mechanical test" to determine whether the
             first requirement numerosity has been met . . ., nor is
             there a set rule for the number of prospective class
             members which must exist before a class is certified..
             . Each case depends upon the particular circumstances
             surrounding the proposed class. .. and the court
             should consider the reasonable inferences and
             common sense assumptions from the facts before it.
Friar v. Vanguard Holding Corp., 78 A.D.2d 83, 96 (2d Dept. 1980).
      Plaintiff contends that Defendant failed to pay gratuities to at least forty
banquet service employees. Plaintiff states that joinder of the class member is
impractical and that given the high turnover in banquet employees, the number
in the class likely exceeds forty. Plaintiff further notes that Exhibit F to the
Reply Affirmation of Attorney Cordello demonstrates, through Defendant's own
employee records, that there were more than 200 banquet service staff working
for Defendant during the relevant time frame.
      Defendant contends that Plaintiff fails to satisfy the numerosity
requirement and that Plaintiff acknowledges that some employees received the
gratuity during the time frame deemed relevant by Plaintiff.
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                                                   thosebanquet
                                                         banquetemployees
                                                                 employees who
worked prior to the gratuity change
                             change in
                                    in 2011?]
                                       2011'1
      Taking into consideration the circumstances before the Court and Exhibit
F submitted by Plaintiff, the Court determines that the numerosity requirements
has been satisfied.
             Commonality
      "Mt is 'predominance, not identity or unanimity,' that is the linchpin of
commonality." City of New York v. Maul, 14 N.Y.2d 499, 514 (2010), quoting
Friar, 78 A.D.2d at 98. "[T]he decision as to whether there are common

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Case 3:14-cv-03194-M Document 115 Filed 05/22/18         Page 32 of 54 PageID 1468


predominating questions of fact or law so as to support a class action should
not be determined by any mechanical test, but rather 'whether the use of a
class action would achieve economies of time, effort, and expense, and
promote uniformity of decision as to persons similarly situated." Id. at 97.
      Here, Plaintiff avers that the common questions of fact and law include
the following: whether Defendant received a mandatory gratuity related to work
performed by class members, whether Defendant failed to remit mandatory
gratuities, whether Defendant's customers believe monies were being paid as
gratuities, whether Defendants notified customers of the mandatory gratuities,
whether Defendant notified customers that the mandatory gratuity was not
distributed to banquet employees, whether Defendant is liable for all damages
claimed, and whether Defendant should be enjoined from such violations in the
future.
      Defendant does not state any opposition as to this factor. Plaintiff-has
                                                                 Plaintiff has
established commonality.
            Typicality
      The typicality requirement is satisfied where "Plaintiff's claim derives
from the same practice or course of conduct that gave rise to the remaining
claims of other class members and is based upon the same legal theory. . .."
Friar, 78 A.D.2d at 99.
      Plaintiff contends that her claims are typical of the claims of the members
of the putative class because they arose from Defendant's policy of allegedly
imposing a mandatory 20% charge on banquet customers and failing to fully
remit the gratuities to the banquet staff.
.. • Defendant
       Defendant
               states
                 states
                      that
                        that
                           typicality
                             typicalityisisnot
                                            notmet
                                                metbecause
                                                    becauseprior
                                                            prior to
                                                                   to May
                                                                      May 2011
                                                                          2011 the
banquet staff did receive tips and moreover, after Defendant altered its pay
structure in 2011, the banquet staff received an increased hourly wage.
Defendant states that half of the employees during the relevant time frame


                                        -6-




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Case 3:14-cv-03194-M Document 115 Filed 05/22/18            Page 33 of 54 PageID 1469



identified by Plaintiff were thus compensated differently than Plaintiff.
         Typicality is established. The purported claims all derive from the same
practice or course of conduct and are premised upon the same legal theory. "'It
is not necessary that the claims of the names Plaintiff be identical to those of
the class." Branch v. Crabtree, 197 A.D.2d 557 (2d Dept. 1993), quoting Super
Glue Corp. v. Avis Rent a Car Sys., 132 A.D.2d 604 (2d Dept. 1987).
                Adequacy of Representation
         "A class representative acts as principal to the other class members and
owes them a fiduciary duty to vigorously protect their interests." City of
Rochester v. Chlarella,
             Chiarella, 65 N.Y.2d 92, 100 (1985). "That responsibility clearly
encompasses the duty to act affirmatively to secure the class members' rights
as well as to oppose the adverse interests asserted by others." Id. "The three
essential factors to consider in determining adequacy of representation are
potential conflicts of interests between the representative and the class
members, personal characteristics of the proposed class representative (e.g.,
familiarity with the lawsuit and his or her financial resources), and the quality of
the class counsel." Globe Surgical Supply v. GEICO Ins. Co., 59 A.D.3d 129, 144
(2d Dept. 2008).
         Plaintiff asserts that she and counsel will fairly and adequately represent
the.class members. Lead counsel had been lead attorney in several other class
actions, and Plaintiff asserts that she has no interest that diverges from the
class.
         Defendant notes that Plaintiff is a college student residing in a different
region of the state for nine months of the year, who is not familiar enough with
this lawsuit.
         The Court's review of the materials presented reveals that Plaintiff has
established adequacy of the representation. There are no issues with Plaintiff's
character, there is no evidence presented of conflicts between Plaintiff and the


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Case 3:14-cv-03194-M Document 115 Filed 05/22/18            Page 34 of 54 PageID 1470



class members, and no concerns are raised about the competence of Plaintiff's
counsel.
               Superiority
      In a case dealing with a "relatively insignificant amount of damages
suffered by many members of the class" the costs of an individual action are
"prohibitive." Pruitt v. Rockefeller Center Properties, Inc., 167 A.D.2d 14, 24 (1 s'
Dept. 1991). Additionally, the "large number of class members renders
consolidation unworkable" and thus "a class action is not only superior but,
indeed, the only practical method of adjudication." Id. In such circumstances,
it has been noted:
               The class action is seen as a means of inducing socially
               and ethically responsible behavior on the part of large
               and wealthy
                      ealthyinstitutions
                             inctitlitinnc
                                         Which
                                           which
                                               %AIM   b e detected
                                                 will he  cletPrtPri from
               carrying out policies or engaging in activities harmful
               to large numbers of individuals. Absent the class
               action lawsuit, the theory goes, these institutions will
               be permitted to operate virtually unchecked and
               continue to engage in "legalized theft" which is
               perpetuated because the injured potential plaintiffs
               frequently are damaged in a small sum (often less than
               $100) since, realistically speaking, our legal system
               inhibits the bringing of suits based on small claims.
Friar, 78 A.D.2d at 94.
      Plaintiff alleges that the proposed class members have suffered relatively
small damages, and most class members would not be motivated to individually
commence suits.
      Defendant does not offer opposition as to superiority. Superiority is
established.
               CPLR 902
      CPLR 902 sets forth additional factors for the courts consideration when
determining whether to allow a matter to proceed as a class action: "1. the
interest of members of the class in individually controlling the prosecution or


                                          -8-




                                                                                        33
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18           Page 35 of 54 PageID 1471


defense of separate actions; 2. the impracticability or inefficiency of
prosecuting or defending separate actions; 3. the extent and nature of any
litigation concerning the controversy already commenced by or against
members of the class; 4. the desirability or undesirability of concentrating the
litigation of the claim in the particular forum; 5. the difficulties likely to. be
encountered in the management of a class action."
      Here, the purported class members have not suffered individually large
damages and thus each claim alone does not warrant hiring and funding
litigation. Separate actions would be impracticable and inefficient. There is no
evidence that concentrating this litigation in this forum is undesirable, that
other similar litigation has been commenced, or that difficulties will arise in
managing this class action.
      Plaintiff satisfies the CPLR §902 criteria.
      Plaintiff's application for class certification is granted. Likewise,
Plaintiffs' motions for an order additionally directing that notice of the
certification of the class be provided to the class members by first class mail
addressed to their last known addresses in addition to emailing notice to the
class members, directing Defendant to post the, notice at Bristol Harbour at an
appropriate location in the kitchen or other non-public area, and appointing
Allison Plante as lead Plaintiff representing the class and appointing Ms.
Plante's counsel as class counsel are also granted.
      Summary Judgment
     'A party seeking summary judgment "must make a prima facie showing of
entitlement to judgment as a matter of law, tendering sufficient evidence to
demonstrate the absence of any material issues of fact." Alvarez v. Prospect
Hosp., 68 N.Y.2d 320, 324 (1986). "Failure to make such a prima facie showing
requires a denial of the motion, regardless of the sufficiency of the opposing
papers." Id. See also, Qlisanr, LLC v. Hollis Park Manor Nursing Home, Inc., 51


                                          -9-




                                                                                     34
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18        Page 36 of 54 PageID 1472


A.D.3d 651, 652 (2d Dept. 2008). "Once this showing has been made,
however, the burden shifts to the party opposing the motion for summary
judgment to produce evidentiary proof in admissible form sufficient to establish
the existence of material issues of fact which require a trial of the action."
Alvarez, 68 N.Y.2d at 324 , citing Zuckerman v. City of New York, 49 N.Y.2d
557, 562 (1980). A motion for summary judgment may be denied as premature
where "facts essential to justify opposition may exist" but are in the control of
the other party and discovery has not yet taken place. See CPLR 3212(f); Morris
v. Hochman, 296 A.D.2d 481 (2d Dept. 2002).
      New York Labor Law Section 196-d states:
            No employer or his agent or an officer or agent of any
            corporation, or any other person shall demand or
            accept, directly or indirectly, any part of the gratuities,
            received by an employee, or retain any part of a
            gratuity or of any charge purported to be a gratuity for
            an employee. This provision shall not apply to the
            checking of hats, coats or other apparel. Nothing in
            this subdivision shall be construed as affecting the
            allowances from the minimum wage for gratuities in
            the amount determined in accordance with the
            provisions of article nineteen of this chapter nor as
            affecting practices in connection with banquets and
            other special functions where a fixed percentage of the
            patron's bill is added for gratuities which are
            distributed to employees, nor to the sharing of tips by
            a waiter with a busboy or similar employee.
The Court of Appeals has stated that "the standard under which a mandatory
charge or fee is purported to be a gratuity should be weighed against the
expectation of the reasonable customer...." Samiento v. World Yacht Inc., 10
N.Y.3d 70, 79 (2008). "[A] banquet charge, like any charge can `purport[] to be
a gratuity' and . . . the reasonable patron standard should govern when
determining whether a banquet patron would understand a service charge was
being collected in lieu of a gratuity." Id.. The Court cited a NYSDOL opinion


                                       -10-




                                                                                    35
Case 3:14-cv-03194-M Document 115 Filed 05/22/18            Page 37 of 54 PageID 1473


letter dated March 26, 1999, which stated:
            If the employer's agents lead the patron who
            purchases a banquet or other special function to
            believe that the contract price includes a fixed
            percentage as a gratuity, then that percentage of the
            contract price must be paid in its entirety to the
            waiters, busboys and 'similar employees' who work at
            that function, even if the contract makes no reference
            to such a gratuity.'
Id. at 79-80. It was held that "the statutory language of Labor Law §196-d can
include mandatory charges when it is shown that employers represented or-
                                                                      or,
allowed their customers to believe that the charges were in fact gratuities for
their employees. An employer cannot be allowed to retain these monies." Id. at
80-81.
      NIew regt.&ti"ns
           regt.&ti"ns regarding   ..-)"r I 9t."1
                       regarding Lai
                                 Lab"r      at."1 Section 196-d ,„vent int^ effect in
2011. 12 NYCRR 146-2.19 relates to administrative charges that are not
purported to be a gratuity or tip and requires that administrative charges "be
clearly identified as such" and that customers must be "notified that the charge
is not a gratuity or tip." It moreover places the burden on the employer to
demonstrate that the notification given was "sufficient to ensure that a
reasonable customer would understand that such charge was not purported to
be a gratuity." Id. at (b). As to notification, the regulation states:
            Adequate notification shall include a statement in the
            contract or agreement with the customer, and on any
            menu and bill listing prices, that the administrative
            charge is for administration of the banquet, special
            function, or package deal, is not purported to be a
            gratuity, and will not be distributed as gratuities to the
            employees who provided service to the guests. The
            statements shall use ordinary language readily
            understood and shall appear in a font size similar to
            surrounding text, but no smaller than a 12-point font.
Id. at (c). Finally, the regulation contemplates combination charges:
            A combination charge, part of which is for the

                                         -11-



                                                                                        36
Case 3:14-cv-03194-M Document 115 Filed 05/22/18                                  Page 38 of 54 PageID 1474


                         administration of a banquet, special function or
                         package deal and part of which is to be distributed as
                         gratuities to the employees who provided service to
                         the guests, must be broken down into specific
                         percentages or portions, in writing to the customer, in
                         accordance with the standards for adequate
                         notification in subdivision (c) of this section. The
                         portion of the combination charge which will not be
                         distributed as gratuities to the employees who
                         provided service to the guests shall be covered by
                         subdivisions (a), (b), and (c) of this section.
Id. at (d).
           Here, Plaintiff contends that the docimentary evidence proves that it
imposed mandatory service charges on customer at hundreds of events where
Plaintiff worked during the relevant time period but never paid the banquet
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          Joshua Shaver, an employee of Defendant from approximately 2008 to
2009 avers that he was a banquet bartender during that time frame and was
aware that Defendant's Banquet Event Order listed a 20% gratuity/ service
charge in addition to the catering charges. Shaver states that he was' paid less
than minimum, wage and received only a "limited portion of the 20% surcharge."
Affidavit of Joshua
             Joshua Shaver,
                    Shaver, 115.
                            15. Shaver
                                 Shaverstates
                                        states that
                                                that banquet
                                                     banquet customers
                                                             customers were not
notified that the 20% charge was used for other purposes, and Shaver recalls
incidents where banquet customers thanked him for his service and indicated
that his tip was
             was included
                 included in
                           in the
                               the total
                                    totalcharge
                                          chargefrom
                                                 fromDefendant.
                                                     Defendant.Id.
                                                                Id.atat118.
                                                                        18.
           Plaintiff submits Exhibits D, E, F, G, H, and I , Banquet Event Orders
setting forth the charges. The 2008 Banquet Event Orders submitted as Exhibit
D state, in relevant part:
                         A NY STATE SALES TAX IS ADDED TO ALL
                         FOOD/BEVERAGE/SERVICE PRICES. A 20%
                         GRATUITY/SERVICE CHARGE IS ADDED TO ALL FOOD &
                         BEVERAGE PRICES. PRICES ARE SUBJECT TO CHANGE . .



                                                              -12-




                                                                                                         37
Case 3:14-cv-03194-M Document 115 Filed 05/22/18          Page 39 of 54 PageID 1475



Plaintiff's Exhibit D. The Banquet Event Orders for 2009, 2010, 2011, and 2012
contain identical, or nearly identical, language as to the gratuity. See Exhibit E,
F, G, and H. The Court notes that slight variations of the nomenclature for the
service charges are used in the Banquet Event Orders submitted: "service
charge", "gratuity", "gratuity/admin. fee", and "admin. charge." Defendants
contend that the Banquet Event Orders were not the primary contract used with
their clientele.
       Plaintiff notes that the language employed does not meet the NYSDOL
requirements to allow Defendant to retain the charge. See, e.g., Maldonado v.
BTB Events & Celebrations, Inc., 990 F.Supp.2d 382, 390-94 (S.D.N.Y. 2013).
(noting the non-exhaustive list of factors bearing "on whether a reasonable
customer would believe a particular service charge is a gratuity" include: "(1)
the font size and prominence of the notice; (2) the label used to denote the
charge and whether such a label would confuse patrons (noting that the label
'administrative fee' is clear than 'service charge'); (3) whether the purpose of
the charge and manner in which
                         which the
                               the charge
                                   charge is
                                          is calculated
                                             calculated .are
                                                         are described on the
bill; (4) whether the notice discloses the portion of the charge that is being
distributed to the service staff and informs that patrons to leave an additional
payment as a tip; and (5) whether there exists a separate line for gratuity"),
quoting NYSDOL March 11, 2010 Opinion. Letter, at 3. Plaintiff notes that
Defendant's Banquet Event Orders do not state that the charge will not be
distributed to employees and that furthermore the menus and bills also make
no such statement. Plaintiff also notes that after the commencement of this
lawsuit, Defendant changed the language of the Banquet Event Orders to
include the following disclaimer:
             20% Administrative fee and Tax
             All charges subject to change. All invoices are subject
             to as 20% taxable administrative fee plus applicable
             New York State sales tax. The administrative fee is not
             intended to be a tip and is not distributed to the wait

                                       -13-




                                                                                      38
 Case 3:14-cv-03194-M Document 115 Filed 05/22/18           Page 40 of 54 PageID 1476


             staff as gratuity. The administrative fee is used to
             cover administrative and facility costs, including higher
             wages for banquet service staff. For banquets,
             additional tipping is entirely voluntary and is at the
             guest's discretion. Guests should never feel obligated
             to leave a gratuity, due to our banquet staff's higher
             wage scale, but are welcome to provide a gratuity
             should he/she wish to acknowledge our banquet staff
             members for exceptional or outstanding service.
Plaintiff's Exhibit j. According to Plaintiff, the statutory right to a full gratuity
collected by the employer must be waived via a "clear, unmistakable" statement.
See Tamburino v. Madison Square Garden, L.P., 115 A.D.3d 217, 221 (1" Dept.
2014).
      Plaintiff further argues that Defendant's customers believed the 20%
charge was a gratuity.
             gratuity. See
                       See Affidavit
                           Affidavitof
                                     ofJoshua
                                        JoshuaShaver,
                                               Shaver,118;
                                                       18; Affidavit
                                                           Affidavit of Allison
Plate, 1113
       113 ("Based
            ("Basedon
                    onmy
                      myexperiences
                         experiencesDefendant's
                                    Defendant's customers
                                                customers at
                                                          at Bristol
                                                             Bristol Harbour
believed the 20% surcharge was a gratuity. For instance, a few times customers
thanked me for doing a great job and indicated that my tip was included in the
total charge from my employer. Further, I recall a customer, who held a
rehearsal dinner at Bristol Harbour who told me, while I was serving at his
event, that he was charged a percentage gratuity on his bill which he believed
was being paid as tip to the banquet staff who worked at his event").
      In opposition, Defendant notes that courts have held that if an employer
wishes to keep the service charge, it must sufficiently disclose to patrons that
the service charge is being retained and not paid to the staff. See Spicer v. Pier
Sixty, LLC, 269 F.R.D. 321, 331 (S.D.N.Y. 2010). In adopting the NYSDOL's
March 11, 2010 opinion letter, the Spicer Court stated: "it is neither irrational
nor unreasonable to maintain that a reasonable customer's beliefs regarding
the nature of a mandatory service fee would be influenced by the totality of the
banquet company's representations and the surrounding circumstances." Id. A
reviewing court's responsibility to assess the totality of the circumstances was


                                         -14-



                                                                                        39
Case 3:14-cv-03194-M Document 115 Filed 05/22/18          Page 41 of 54 PageID 1477


also addressed in   Martin v. Restaurant Assoc. Events Corp., 35 Misc.3d 215
(Sup.Ct. Westchester Co. 2012), aff'd 106 A.D.3d 785 (2d Dept. 2013): "even if
a contract explicitly states that a service fee is not a gratuity, a reasonable
customer might nonetheless believe otherwise depending on the totality of the
circumstances." Id. at 225. The Court continued, "whether a reasonable
customer would believe that a mandatory service charge was being collected in
lieu of a gratuity is dependent upon the totality of the all of the circumstances,
including all of the statements made nor not made by the employer. This is
obviously a fact-intensive inquiry." Id.
      Here, Defendant contends it has established triable issues of fact
regarding whether, considering the totality of the circumstances, a reasonable
customer would expect that the 20% fee was entirely treated as a gratuity
despite alleged representations made by Defendant. Defendant presents the
Affidavit of Sara Goff, event coordinator for Defendant. Goff states:
            6. Prior to 2011 the resort imposed a 20% gratuity and
            administrative fee on all the food and beverages served
            at an event.

            7. The 20% was broken down into 14% as tips for the
            servers and bartenders, 2% was paid to me as a
            commission for work as event coordinator and 4% went
            to the house.

            8. In 2010 this distribution changed. In that year 14%
            went to the servers and bartenders, 2% to me as event
            coordinator, 2% was paid to Jay Daniels, the food and
            beverage manager for his work in coordinating, 1/2%
            was paid to my assistant, Karen Kiehle and only 1.5
            went to the house.

            9. During this period of time I would regularly explain
            to all customers that only 14% went to the servers as
            gratuity. I typically offered this explanation in the
            context of talking about the taxes which were charged
            on events. We are not permitted to charge taxes on


                                        -15-




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 Case 3:14-cv-03194-M Document 115 Filed 05/22/18        Page 42 of 54 PageID 1478



            the gratuity that is paid to the server. We did charge
            taxes on the administrative portion. Therefore, when I
            was explaining the total cost I would break down the
            20% gratuity/ administrative fee into its two portions
            and explain to each customer that only 14% was paid
            as a gratuity which was not taxed whereas the 6% was
            an administrative fee which was taxed. Based on my
            work in dealing with customers I believe that they all
            understood that only 14% was a gratuity paid to
            servers.
Affidavit of Sara Goff, 116-9. Goff further notes that Defendant changed its
systems for paying bussers, servers, and bartenders in 2011. Id. at 110. As to
notification made to customers following the change; Goff states:
            Most of the weddings that were held in 2011 had been
            booked in 2010. At the time they were booked we
            were working under the old cyctem where we had the
            20% gratuity/ administrative fee. Because we were
            changing the system, I sent e-mails to every individual
            customer and explained to them that while there was a
            20% administrative fee, it was not a gratuity that was
            being paid to the servers.. .

            Din addition to sending the e-mails, I had personal
            conversations with every wedding customer to explain
            to them that while there was a 20% administrative fee,
            this was not a gratuity that was paid to the servers and
            that our servers were paid well above the minimum
            wage and did not receive gratuities.
Id. at 1113-14. Goff states that Defendant changed its invoices in 2011 to
reflect that the administrative fee was not a gratuity. The invoices thereafter
sent stated: "includes 10 gratuity and 2% administrative fee** on food and
beverage portion only. **Not a gratuity for employees." Id. at 115 and Exhibit
B.
      Moreover, Defendant notes through the Affidavit of Greg Mulhern,
General Manager of Bristol Harbour, that while the Banquet Event Orders
continued to state the gratuity/administrative fee, those forms were


                                       -16-




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Case 3:14-cv-03194-M Document 115 Filed 05/22/18          Page 43 of 54 PageID 1479



predominately for internal use and were only provided to customers in some
instances. Affidavit of Greg Mulhern, 1128.
      Defendants conclude that Plaintiff does not present evidence that the
event coordinator advised customers anything other than the fact that the
gratuity/administrative fee was not distributed entirely to employees, and later
that the entire service charge would be retained by Defendant. Defendant
argues that no evidence is presented that the customers were led to believe
that the entire fee was remitted entirely to the employees.
      The Court finds a question of fact preventing granting Plaintiff's motion
for summary judgment at this juncture, in part. 12 NY ADC §146-2.19(c), as
cited supra, states that [a]dequate notification shall include a statement in the.
contract or agreement with the customer. . . that the administrative charge is
for administration of the banquet . . . is not purported to be a gratuity, and will
not be distributed as gratuities to the employees... The statements shall use
ordinary language readily understood and shall appear in a font size similar to
surrounding text, but no smaller than a 12-point font." There is a question as
to whether the notifications provided to customers, as described in Defendant's
opposition papers, satisfied the requirements of 22 NY ADC §146-2.19(c).
There is no indication that the contracts Defendant entered into with customers
contained merger clauses, and the Court's review of the papers does not find
merger clauses. As such, there is a question as to whether the alleged
subsequent written notifications sufficiently amended the contracts to bring
them in compliance with the regulatory requirements. To this extent, where
written notifications were provided, the motion for summary judgment is
denied.
      As to whether any oral representations made after the policy change in
2011 constituted sufficient notice to customers in cases where the entire fee
was being retained by Defendant, summary judgment is granted. 12 NY ADC



                                       -17-




                                                                                      42
Case 3:14-cv-03194-M Document 115 Filed 05/22/18            Page 44 of 54 PageID 1480




 §146-2.19 requires written notification. Subsection (c) describes the
 notification that is required and mandates the font size to be used, thus
 indicating a written notice. Moreover, Subsection (d) which specifically
 references a "writing," references said "writing" specifically "in accordance with
the standards for adequate notification in subsection (c) of this section." To the
extent customers were notified only orally by Defendant of the distribution of
the subject charge, Plaintiff has established entitlement to summary judgment,
and Defendant fails to raise an issue of fact.
       Entitlement to summary judgment is otherwise not established and is
consequently denied.



       Signed at Rochester, New York this 22' day of January, 2015.




                                               M tthew A. Rosenbaum
                                               Supreme Court justice




                                        -18-




                                                                                      43
Case 3:14-cv-03194-M Document 115 Filed 05/22/18   Page 45 of 54 PageID 1481




        STATE OF NEW YORK : SUPREME COURT
        COUNTY OF ERIE : PART 22


        CHRISTOPHER FISCHER and
        GABRIELLE LONERGAN, on Behalf
        of Themselves and All Other
        Employees Similarly Situated,

                Plaintiffs,

           - vs -                                           INDEX # 811728/2014

        MICHAEL'S BANQUET FACILITY, INC.,                          DECISION

                    Defendant.


                                        25 Delaware Avenue
                                        Buffalo, New York
                                        February 9, 2015


        B e f o r e:
                       HONORABLE TIMOTHY J. WALKER, JCC
                         Acting Supreme Court Justice
                    Presiding Justice, Commercial Division
                           Eighth Judicial District


        Appearance               s:

                       THOMAS & SOLOMON LLP
                       BY: MICHAEL J. LINGLE, ESQ.
                            JESSICA WITENKO, ESQ.
                       Appearing for the Plaintiffs.

                       JASON A. SHEAR, ESQ.
                       Appearing for the Defendant.




                                 LYNN S. DULAK, RPR, CRR
                                 Official Court Reporter                  44
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 46 of 54 PageID 1482
                      Fischer, et al. v. Michael's - Decision
                                                                               2

     1                   COURT CLERK: This is the matter of Fischer

     2        versus Michael's Banquet Facility under Index number

     3        811728/2014. Counselors, please state your appearance for

     4        the record.

     5                   MR. SHEAR: Good afternoon, Your Honor. Jason

     6        Shear for the defendant.

     7                   MR. LINGLE: Mike Lingle and Jessica Witenko,

     8        Thomas and Solomon, for the plaintiffs.

     9                   THE COURT: Jessica --

 10                      MS. WITENKO: Witenko, W-I-T-E-N-K-O.

 11                      THE COURT: Thank you. Would anyone like the

 12           argument on the record?

 13                      MR. LINGLE: I don't believe so, Your Honor.

 14                      MR. SHEAR: No, Your Honor.

 15                      THE COURT: Okay.

 16                      (Discussion off the record.)
 1   7                   THP ("nTIRT: ThiQ                    m^ti^n to      amnng

 18           other items, certify a class, approve a proposed

 19           representative, approve class counsel, approve the form

 20           and content of the notice -- the form of a notice that

 21           would then go out to prospective class members. And

 22           defendant's cross-motion to dismiss.

 23                      This is the court's decision. Michael's is a

 24           banquet facility located in Hamburg, New York. According

 25           to the complaint, the named plaintiffs were banquet



                               LYNN S. DULAK, RPR, CRR
                               Official Court Reporter                  45
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 47 of 54 PageID 1483
                      Fischer, et al. v. Michael's - Decision
                                                                                         3

  1           servers at Michael's during various time periods and were

  2           paid an hourly wage. Plaintiffs contend that Michael's

  3           charged an 18 percent banquet fee without advising

  4           customers that the fee was not a gratuity to he

  5           distributed to the employees such as plaintiffs. Labor

  6           Law section 196-d provides that "no employer shall demand

  7           or accept, directly or indirectly, any part of the

  8           gratuities received by an employee, or retain any part of

  9           a gratuity or of any charge purported to be a gratuity for

 10           any employee -- for an employee." Regulations promulgated

 11           pursuant to that section provide that a charge for the

 12           administration of a banquet or other special event be

 13           clearly identified as such, and customers shall be

 14           notified that the charge is not a gratuity or tip.

 15                          Michael's routinely advertises to its customers

 16           that it will add and does, in fact, add an 18 percent
 17           ,r1-, ncr ,,,,t” r,b,-gc,   to it-Q   hillc fnr hancrict .   Nr,ma rt ^f

 18           that banquet charge is distributed to its employees.

 19           According to the complaint, defendant's past and current

 20           menus did not then and do not now indicate that the

 21           banquet charge is, in fact, retained by the employer and

 22           not distributed to employees as gratuities. Plaintiffs

 23           assert that defendant cannot meet its burden of proof that

 24           it ensured that a reasonable customer understood that the

 25           banquet charge would not be paid to employees.



                                     LYNN S. DULAK, RPR, CRR
                                     Official Court Reporter                      46
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 48 of 54 PageID 1484
                      Fischer, et al. v. Michael's - Decision
                                                                                 4

  1                          In response, defendant moves to dismiss the

  2           complaint, apparently on two separate grounds. First,

  3           that the named plaintiffs lacked standing to sue. And

  4           second, that customers of defendant were fully aware that

  5           any extra charges were not being paid to the "wait staff";

  6           and therefore, the defendant did not violate section

  7           196-d.

  8                          Defendant cites no law in support of its

  9           allegation that the named plaintiffs lack standing.

 10           Instead, defendant's managers assert that servers at

 11           defendant's facility are not employees who would be

 12           considered "tipped employees" because servers are notified

 13           prior to accepting employment that they will be paid

 14           hourly and that there will be no income from tips.

 15                          The definition of "employee" pursuant to Article

 16           6 of the Labor Law, namely section 190, et seq., provides
 17           1-1-i- ti rl y pn,-Q,-,n   ampinyari fnr hira by a n ampinyar in any


 18           employment." Defendant does not argue that the named

 19           plaintiffs were independent contractors. Instead, merely

 20           that they were not "tipped employees," a category that

 21           does not appear in the statute. In fact, the statute does

 22           not regulate what employers tell their employees about

 23           tips. Instead, it regulates what employers inform their

 24           customers about extra charges. As such, defendant's

 25           contention on this point is without merit.



                                    LYNN S. DULAK, RPR, CRR
                                    Official Court Reporter                 47
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 49 of 54 PageID 1485
                      Fischer, et al. v. Michael's - Decision
                                                                             5

                           Second, defendant asserts that its customers

              were fully aware that the "18 percent banquet charge" was

              not a gratuity that would be paid to the servers because

              if customers asked, they were told so orally. In

              addition, Cheri Gargano avers that the "service charges"

              were subject to state and county sales tax such that

              "customers had knowledge that the service charge was not a

              gratuity." On that basis, defendant asserts that it did

              not violate section 196-d, and that the complaint must be

              dismissed.

                           The court disagrees. Because the alleged oral

 12           or inquiry notice upon which defendant relies does not

 13           come close to the "adequate notification" required by

 14           regulation, at this procedural juncture where the court

 15           must consider all allegations in the complaint as true,

 16           the court denies the cross-motion to dismiss.
 17                        AQ   to P1ln"ffQ1 mnt i nn P"rnt t^ rPLR

 18           section 901, a class action may be certified where, one,

 19           the class is so numerous that joinder of all members,

 20           whether otherwise required or permitted, is impracticable;

 21           two, there are questions of law or fact common to the

 22           class which predominate over any questions affecting only

 23           individual members; three, the claims or defenses of the

 24           representative parties are typical of the claims or

 25           defenses of the class; four, the representative parties



                                 LYNN S. DULAK, RPR, CRR
                                 Official Court Reporter                48
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 50 of 54 PageID 1486
                      Fischer, et al. v. Michael's - Decision
                                                                                         6

  1           will fairly and adequately protect the interest of the

  2           class; and five, a class action is superior to other

  3           available methods for the fair and efficient adjudication

  4           of the controversy.

  5                      In addition, plaintiffs must demonstrate that

  6           certification is also appropriate pursuant to the five

  7           factors set forth in CPLR section 902. The court cites

  8           Krebs versus The Canyon Club, 22 Misc 1125, Supreme Court,

  9           Westchester County, 2009. Plaintiff bears the burden of

 10           establishing that the class exists and that the

 11           prerequisites are met. Defendant does not challenge

 12           plaintiffs' motion insofar as it seeks to establish the

 13           CPLR section 901-902 criteria. The court determines that

 14           plaintiffs have met their burden pursuant to the Krebs

 15           case. Notably, plaintiffs' counsel appears very able to

 16           prosecute the action.
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 18           defendant's failure to raise it. Pursuant to CPLR 901(b),

 19           an action to recover a penalty, or minimum measure of

 20           recovery created or imposed by statute may not be

 21           maintained as a class action unless the statute creating

 22           the penalty specifically permits a class action. Here,

 23           the Labor Law section 198(1-a) permits the recovery of

 24           actual wages plus additional liquidated damages in an

 25           amount equal to 25 percent of actual damages for a



                               LYNN S. DULAK, RPR, CRR
                               Official Court Reporter                              49
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 51 of 54 PageID 1487
                      Fischer, et al. v. Michael's - Decision
                                                                                      7

  1           violation of section 196-d.

  2                        Other courts have addressed this issue fully in

  3           similar cases. See the Krebs case as well as the

  4           following: Pesantez versus Boyle, 251 AD2d 11, First

  5           Department 1998. In addition, in Ridgeview Meadows

  6           Homeowners Association, Inc. versus Tara Development Co.,

  7           242 AD2d 947, the Fourth Department ruled that in a class

  8           action under General Business Law section 349 where the

  9           plaintiffs agreed to waive the possibility of statutory

 10           minimum and trouble damages and limit their demand to

 11           actual damages, CPLR 901(b) would not be applicable and

 12           the class action could be maintained. However, the Fourth

 13           Department modified the order by providing that any class

 14           member wishing to pursue statutory minimum and trouble

 15           damages may opt out of the class and instead bring an

 16           individual action, id. at 247. See also Super Glue Corp.
 17           v.,- Q,,Q AviQ R,=, nt A   r.,- 19 An9A   604 at 606   q.,-^n,-1

 18           Department 1987.

 19                        Accordingly, the class in this case shall be

 20           certified as all hourly banquet service workers who worked

 21           at any banquet event at Michael's Banquet Facility from

 22           October 7, 2008 to the present where a mandatory charge

 23           was added to customers' bills and Michael's Banquet

 24           Facility failed to clearly notify customers that such

 25           charge was not a gratuity or tip.



                                  LYNN S. DULAK, RPR, CRR
                                  Official Court Reporter                        50
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 52 of 54 PageID 1488
                      Fischer, et al. v. Michael's - Decision
                                                                                             8

  1                          In addition, the court determines that the

  2           proposed notice is written in plain, easy-to-understand

  3           language, and adequately notifies all potential class

  4           members of the important details, including that the named

  5           plaintiffs have waived their rights to liquidated damages,

  6           but that any such class member may preserve his or her

  7           right to liquidated damages by opting out. The notice as

  8           approved with the correction of a few typographical errors

  9           shall be posted in an appropriate place such as the

 10           kitchen, break room, or other nonpublic area at Michael's

 11           Banquet Facility. In addition, defendants shall disclose

 12           to plaintiffs' counsel within 30 days of service upon

 13           counsel of the order of this court together with notice of

 14           entry, the names, last known addresses, and last known

 15           email addresses of all potential class members, namely all

 16           hourly banquet service workers employed by defendant
 17           1,,=twa,n   !>r-tra--=,,-- 7, 900P .11.,1 1-1,
                                                           ., p-r-cr.1- , .n.11,1 P111-"ff

 18           shall mail the notice to such individuals.

 19                          Are there any questions?

 20                          MR. LINGLE: No, Your Honor.

 21                          MR. SHEAR: No.

 22                          THE COURT: Submit an order on notice. Order a

 23           copy of the transcript, and attach it to the order.

 24                          MR. LINGLE: Yes, Your Honor.

 25                          THE COURT: Off the record.



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                                    Official Court Reporter                          51
Case 3:14-cv-03194-M Document 115 Filed 05/22/18 Page 53 of 54 PageID 1489
                      Fischer, et al. v. Michael's - Decision
                                                                             9

                         (Discussion off the record.)


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                              CERTIFICATION




          I certify that the foregoing 9 pages are a correct

        transcription of the proceedings recorded by me in this matter.



 13

 14                                           D.)„tsal
                                 LYNN S DULAK, RPR, CRR,
 15                              Official Court Reporter.

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                               LYNN S. DULAK, RPR, CRR
                               Official Court Reporter                  52
Case 3:14-cv-03194-M Document 115 Filed 05/22/18                Page 54 of 54 PageID 1490


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2018, a copy of the foregoing document was
electronically filed. Notice of this filing will be sent to counsel of record for all parties by
operation of the Court’s Electronic Filing System.

                                                   /s/ Sarah E. Cressman
                                                   Sarah E. Cressman
